 

Case 7:20-cr-01528 Document1 Filed on 08/26/20 in TXSD Page 1 of 2

AO 91 (Rev. 11/11) Criminal Complaint

: United Stat
UNITED STATES DISTRICT COURStthem Biswtet OfTexeet
for the

_ Southern District of Texas | _ AUG 2 6 2020

United States of America

‘David J. Bradley, Clerk
Vv. . |

Case No. “ - 20- | Gale rv

 

 

 

 

Defendant(s)
SEALED
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of - July 31, 2020 in the county of Hidalgo - in the
Southern District of Texas , the defendant(s) violated:
Code Section

- Offense Description

Knowingly and Intentionally Possess with Interit to Distribute approx. 1.7

21U.S.C., 846, 841 (a)(1) .
kilograms of Methamphetamine, a Schedule II Controlled Substance

Knowingly and Intentionally Conspire to possess with Intent to Distribute
approx. 1.7 kilograms of Wethoag) etaj, a Schedule I! Controlled Substance

aun -

This criminal complaint is based on these facts:

See Attachment "A".

@ Continued on the attached sheet.

   

    

 

Comp/@ipant’s signature
Approved by AUSA Angel Castro

Cosme A. Muniz II], DEA Task Force Officer
; ‘ Printed name and title
Submitted by reliable electronic means, sworn to

and attested to telephonically per Fed.R.Cr.P.4.1 per so
probable cause found on:

 

SYIP PS ID ~ 0 | A
Date: 08/26/2020 ne M ; 5 LAA
| ee (2, 4. . Judge’s signature
City and state: McAllen, Texas i J. Sgott Hacker, U.S. Magistrate Judge
WwW 4 t

 

Printed name and title
 

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ATTACHMENT “A”

On Friday July 31, 2020, Palmview Police Department Officers responded to a major accident on
State Highway 495 between State Highway 364 and Breyfogle Road in Palmview, Texas. Upon
arrival officers observed a 2007. Biue Chevrolet Silverado pickup and a 2008 Black Ford Escape
with extensive damage to both vehicles. The driver of the blue Chevrolet Silverado was
identified as PEREZ, Eugenio who was observed by Officer Juan Martinez grab a gray bag from
inside the cab of the Chevrolet pickup and place it in the bed of the same pickup. Officer
Martinez stated that PEREZ’s family members-started to arrive and told PEREZ that he did not
want any of his family members close to the accident scene while it was still being investigated.
PEREZ became very belligerent and kept calling a female-over to him. Officer Martinez .
continued to work the accident scene and briefly walked away to check on the driver of the
second vehicle where Corporal Jorge Padron (DA4) was attending to. Officer Martinez then
stated that a female identified as PEREZ, Ulyssa (daughter to PEREZ), grabbed the gray bag from
the back of the blue Chevrolet pickup and walked away to a 2012 Black Cadillac CTS. There, she
opened up the rear left door when Officer Martinez stopped her. Officer Martinez then told U.
PEREZ that she could not remove anything from the vehicle and asked her what she had. U. -
PEREZ then opened the gray bag and briefly showed officer Martinez its contents. Officer
Martinez only observed a black trash bag. Officer.-Martinez then asked U. PEREZ what was in
the gray bag. U. PEREZ then opened up the gray bag and pulled out a clear plastic bag which
contained a white crystal like substance. Officer Martinez recognized it as being
Methamphetamine due to his training and experience. U. PEREZ attempted to place the gray

bag back inside her vehicle, but Officer.Martinez took custody of the gray bag. While talking to
U. PEREZ, officer Martinez stated she fell over a puddle of water and suffered some injuries.
She did not wish any medical attention and was released due to her injuries. PEREZ was not
arrested because he was transported to a local hospital.for his injuries.

The gray bag was transported to the Palmview Police Department where it was processed,
photographed and tested. A total of three (3) plastic bags containing:a white crystal like
substance field tested positive for the properties of Methamphetamine were removed. -A total ©
weight of 1.7 kilograms of Methamphetamine were recovered.
